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                    IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
______________________________________________________________________________

ANTHONY LEE SIMS,                     )
                                      )
            Petitioner,               )         Case No. 4:16-cv-201
                                      )
v.                                    )
                                      )   NOTICE OF VOLUNTARY DISMISSAL
UNITED STATES OF AMERICA,             )      PURSUANT TO FED. R. CIV. P.
                                      )            41(a)(1)(A)(i)
                                      )
            Respondent.               )
______________________________________________________________________________


       COMES NOW the petitioner, through counsel, and hereby gives notice, pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(i) that he voluntarily dismisses the above-captioned cause of action. The

government has not filed an answer or a motion for summary judgment. Attached to this notice

is the petitioner’s signed consent to voluntary dismissal of this action.

                                               Respectfully submitted,

                                               /s/    James Whalen
                                                     JAMES WHALEN
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2017, I electronically filed this document with the Clerk
of Court using the ECF system which will serve it on the appropriate parties.


                                                       /s/       Theresa McClure
